{¶ 17} I respectfully dissent from the majority's opinion. In this case, I do not find that sufficient evidence was presented at trial to show appellant entered into a demand note with the decedent, rather than a promissory note. It is clear from the evidence provided on behalf of the appellee that appellant entered into a promissory note with his deceased mother, thus, a fifteen-year statute of limitations should apply.
  {¶ 18} In addition, I find appellant's complete inability to provide any evidence of repayment to be a direct comment on the integrity of his argument. Accordingly, I believe the judgment of the trial court should be affirmed, and appellant should be ordered to repay the debt that rightfully belongs to his deceased mother's estate. *Page 1 